      Case 1:19-cr-02038-SAB      ECF No. 208    filed 06/01/22   PageID.1900 Page 1 of 6




 1
     Virginia Rockwood
     Attorney at Law
 2   P.O. Box 10258
 3   Spokane, WA 99209
     Telephone: (509) 993-1601
 4
     virginiarockwood@gmail.com
 5

 6
                          UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8

 9                                              ) Case No.: 1:19-CR-2038-SAB
     UNITED STATES OF AMERICA,                  )
10                                              )
                  Plaintiff,                    )
11                                              )      Response to Rule 33 Brief on
           vs.                                  )               Timeliness
12                                              )
     Jordan Everett Stevens,                    )
13                                              )
                   Defendant                    )
14

15

16

17                       RULE 33(b)(1) Motion for New Trial
18

19        THE DEFENDANT, through his Counsel Virginia Rockwood,
20   submits the following response to the brief filed by AUSA
21   Richard C. Burson on timeliness of Rule 33 Motion for New Trial
22   as requested by the Court. (ECF 207). It is part of the record
23   that on October 5, 2021 several months after the trial and
24   conviction of the defendant, Ms. Emmans filed a Motion for New
25   Trial (ECF 167) on the basis of her own ineffective assistance
26   of counsel. This motion was based on her confusion and medical
27   SUPPLEMENTAL MEMORANDUM- 1                                            Virginia Rockwood
                                                                             Attorney at Law
28                                                                            P.O. Box 10258
                                                                           Spokane, WA 99209
                                                                    Telephone: (509)993-1601
      Case 1:19-cr-02038-SAB      ECF No. 208   filed 06/01/22   PageID.1901 Page 2 of 6




 1   event during Day 3 of the trial relating to a mix up in her
 2   prescription drugs. This medication mix up was discovered some
 3   weeks after the trial ended. After consultation with her medical
 4   provider, she took the newly discovered information and filed a
 5   Rule 33(b)(1) motion for new trial. (ECF 167) (Exhibit A and B)
 6   which explain the excusable neglect and delay in her filing the
 7   motion. It would not have been possible for her to file such a
 8   motion within the 14 days contemplated in the rule. Once she had
 9   the August 25th 2021 letter from her ARNP Nicole Storlie, she was
10   able to determine an explanation for the events she described in
11   her motion which is pending before this Court.
12

13

14                                        ARGUMENT
15

16   U.S. v. Jensen CR-08-054-JLQ (E.D. Wash Sept. 27, 2010) does
17   outline an avenue that this Court can take. It can in fact find
18   excusable neglect and grant the motion for new trial considering
19   Rule 45(b)(1)(B). The Motion for New Trial filed by Ms. Emmans
20   (ECF 167) gives the reasons for its untimely filing. The Court
21   does have authority to find excusable neglect. That is exactly
22   what the Court in Jensen did to uphold the defendant’s 6th
23   Amendment right to effective counsel. The Government asks the
24   Court to discard Jensen and deny the motion. The defendant
25   Jordan Stevens asks the Court to grant the motion for new trial.
26   A distinction is that Jenson did not really address this
27   SUPPLEMENTAL MEMORANDUM- 2                                           Virginia Rockwood
                                                                            Attorney at Law
28                                                                           P.O. Box 10258
                                                                          Spokane, WA 99209
                                                                   Telephone: (509)993-1601
      Case 1:19-cr-02038-SAB      ECF No. 208   filed 06/01/22   PageID.1902 Page 3 of 6




 1   situation because the ineffective assistance of counsel was not
 2   self-reported as we have here. Ms. Emmans could not have known
 3   immediately after the trial or within 14 days the excusable
 4   reason for her performance. This knowledge occurred only after
 5   discovery of her medication mix up. That is excusable neglect,
 6   which she submitted to the Court in her motion for new trial
 7   once she had medical confirmation. This distinction allows
 8   additional reasoning to consider the claim of ineffective
 9   assistance of counsel by Ms. Emmans.
10

11         To address the issue raised by the Government of bad faith,
12   the declaration filed by the defendant Mr. Stevens (ECF 203)
13   recounts his recollection of the events during her confused
14   state at trial. This is not evidence of bad faith, but his own
15   personal perspective. It shows the prejudicial effect of Ms.
16   Emmans performance. The withdrawal of the motion for mistrial by
17   co-counsel Mr. Klein should not be held against the defendant to
18   prove bad faith. That withdrawal was addressed in prior
19   briefing.
20

21         The Advisory Committee’s Notes to the rule does not prevent
22   this Court from reviewing all of the pleadings submitted to find
23   sufficient information to overcome the arguments in the
24   Governments brief. In this instance Ms. Emmans filed her motion
25   only when she discovered the cause of her ineffective assistance
26

27   SUPPLEMENTAL MEMORANDUM- 3                                           Virginia Rockwood
                                                                            Attorney at Law
28                                                                           P.O. Box 10258
                                                                          Spokane, WA 99209
                                                                   Telephone: (509)993-1601
      Case 1:19-cr-02038-SAB      ECF No. 208   filed 06/01/22   PageID.1903 Page 4 of 6




 1   of counsel. She has filed sufficient affidavits to proffer the
 2   information needed to find excusable neglect for the delay.
 3

 4         A hearing has been requested in this case to flesh out any
 5   evidentiary gaps for the Court. The issue of a hearing was
 6   discussed in this case at the December 1, 2021 first hearing on
 7   the motion for new trial. This Court pointed out that the record
 8   may need to be supplemented. The undersigned was appointed new
 9   counsel on the issue of this motion. There has been extensive
10   briefing in this case at the request of this Court to examine
11   the unusual timing and self-reporting of an ineffective
12   assistance claim; and now the issue of timely filing. The
13   Government’s first brief did not object on the issue of
14   timeliness. This careful and deliberate process has benefitted
15   both parties. Shinn v. Martinez No. 20-1009 decided in the
16   United States Supreme Court last week, May 23, 2022 gives a
17   detailed review of Ineffective Assistance of Counsel claims
18   reviewed on appeal and 2255 petitions. The thrust of the opinion
19   leads to the conclusion that development of the record belongs
20   with the District Court. That is exactly where this case stands
21   today and was predicted by this Court. A hearing for further
22   testimony is currently scheduled.
23

24

25         /
26         /
27   SUPPLEMENTAL MEMORANDUM- 4                                           Virginia Rockwood
                                                                            Attorney at Law
28                                                                           P.O. Box 10258
                                                                          Spokane, WA 99209
                                                                   Telephone: (509)993-1601
      Case 1:19-cr-02038-SAB      ECF No. 208   filed 06/01/22   PageID.1904 Page 5 of 6




 1

 2                                       CONCLUSION
 3

 4

 5   The Motion for New Trial (ECF 167) filed by Ms. Emmans asks the
 6   Court to not bar the motion on timeliness grounds but to find
 7   grounds to grant Mr. Stevens a new trial based on all of the
 8   evidence in the record, excusing the delay in the Rule 33
 9   filing, hold the hearing and hear argument. The law has been
10   recounted in the prior briefs and respectfully, the Court is now
11   asked to grant the motion.
12

13

14
           Dated this 1st day of June, 2022.
15
                                                            /s/Virginia Rockwood
16                                                          Virginia Rockwood
                                                            Attorney for Defendant
17                                                          P.O. Box 10258
18
                                                            Spokane, WA 99209
                                                            WSBA 11253
19

20

21

22

23

24

25

26

27   SUPPLEMENTAL MEMORANDUM- 5                                           Virginia Rockwood
                                                                            Attorney at Law
28                                                                           P.O. Box 10258
                                                                          Spokane, WA 99209
                                                                   Telephone: (509)993-1601
      Case 1:19-cr-02038-SAB      ECF No. 208   filed 06/01/22   PageID.1905 Page 6 of 6




 1

 2

 3

 4

 5
                                  CERTIFICATE OF SERVICE
 6
               I hereby certify that on June 1, 2022, I electronically
 7

 8   filed the foregoing with the Clerk of the Court using the CM/ECF

 9   System which will send notification of such filing to the
10
     following: AUSA Richard C. Burson
11

12                Dated this 1st day of June, 2022.
13                                                          s/Virginia Rockwood
14
                                                            Virginia Rockwood
                                                            Attorney for Defendant
15                                                          P.O. Box 10258
                                                            Spokane, WA 99209
16                                                          WSBA 11253
17

18

19

20

21

22

23

24

25

26

27   SUPPLEMENTAL MEMORANDUM- 6                                           Virginia Rockwood
                                                                            Attorney at Law
28                                                                           P.O. Box 10258
                                                                          Spokane, WA 99209
                                                                   Telephone: (509)993-1601
